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                                  UNITED STATES BANKRUPTCY COURT
                                   NORTHERN DISTRICT OF FLORIDA
                                        GAINESVILLE DIVISION
In re:
                                                                     Case No. 18-10341-KKS
BRIAN MALCOLM ELSMORE and
MERCEDES ELSMORE,                                                    Chapter 7
                  Debtors.
____________________________________/

              ORDER APPROVING THE CHAPTER 7 TRUSTEE’S APPLICATION FOR AUTHORITY
                TO EMPLOY MCCOY ANDERSON, A MEMBER OF GATOR HOMES REALTY,
               AND APPROVE LISTING AGREEMENT FOR SALE OF REAL PROPERTY (Doc. 33)

             THIS MATTER came before this Court upon the Trustee’s Application for Authority to

     Employ McCoy Anderson, A Member of Gator Homes Realty, and Approve Listing Agreement for

     Sale of Real Property (Doc. 33) (the “Application”), with no hearing necessary, and the Court

     being otherwise advised, it is

             ORDERED that the Trustee’s Application to Employ McCoy Anderson of Gator Homes, is

     APPROVED; Trustee shall present the Application for Approval of Sale which shall include a final

     closing settlement statement subject to this Court’s approval.

                                   May 15, 2019
             DONE and ORDERED on ____________________.



                                                              ________________________________
                                                              KAREN K. SPECIE
                                                              Chief U.S. Bankruptcy Judge

             Trustee is directed to serve a copy of this order on interested parties and file a proof of service
     within (3) days of entry of this Order.

     Copies provided to:     Debtors
                             Debtors Counsel
                             UST
                             Parties in Interest
     Order prepared by Theresa M. Bender, Chapter 7 Trustee
